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10    Attorneys for Plaintiff Kytch, Inc.

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12
                                UNITED STATES DISTRICT COURT
13
                             NORTHERN DISTRICT OF CALIFORNIA
14
                                      SAN FRANCISCO DIVISION
15
16
      KYTCH, INC.,                                 Case No. 23-cv-01998-TSH
17
                         Plaintiff,                Motion to Withdraw as Counsel
18
             v.                                    Dept: Courtroom E, 15th Floor
19                                                 Judge: Honorable Thomas S. Hixson
      MCDONALD’S CORP.,
20
                         Defendant.
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     WITHDRAW OF MOTION TO STRIKE OBJECTIONS                     CASE NO. 23-CV-01998-TSH
        Case 3:23-cv-01998-TSH Document 72 Filed 10/04/24 Page 2 of 3



 1                       MOTION TO WITHDRAW AS COUNSEL
 2          Meier Watkins Phillips Pusch LLP, by and through Daniel P. Watkins,
 3   undersigned counsel, moves to withdraw as counsel in this matter. In support of this
 4   motion, he shows as follows:
 5          1.     Plaintiff Kytch, Inc. is represented by Jason Sheasby of the law firm Irell
 6   & Manella LLP, Brian and Michael Farnan of Farnan LLP, and Daniel Watkins, and
 7   Amy Roller of the law firm Meier Watkins Phillips Pusch LLP.
 8          2.     Plaintiff Kytch, Inc. consents to the withdrawal of Daniel Watkins and
 9   Amy Roller of the law firm Meier Watkins Phillips Pusch LLP, from further
10   representing Kytch in this case.
11          3.     Plaintiff will continue to be represented by Jason Sheasby of Irell &
12   Manella LLP and Brian and Michael Farnan of Farnan LLP.
13          .
14
15
16   Dated:        October 4, 2024                 Respectfully submitted,

17                                                 /s/Daniel P. Watkins
                                                    DANIEL P. WATKINS
18                                                  Meier Watkins Phillips Pusch LLP
19                                                  Attorney for Plaintiff Kytch, Inc

20
21
     *** ORDER ***
22
     For good cause, the Court GRANTS Meier Watkins Phillips Pusch LLP’s motion to withdraw as
23   counsel. The Clerk shall terminate Meier Watkins Phillips Pusch LLP, Daniel P. Watkins, and
     Amy Roller from the docket.
24
25   Date: October ___, 2024            _____________________________________________
                                        UNITED STATES DISTRICT COURT
26                                      MAGISTRATE JUDGE

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     MOTION TO WITHDRAW AS COUNSEL                                     CASE NO. 23-CV-01998-TSH
        Case 3:23-cv-01998-TSH Document 72 Filed 10/04/24 Page 3 of 3



 1                                  CERTIFICATE OF SERVICE
 2          I hereby certify that on October 4, 2024, I electronically filed the foregoing
 3   with the Clerk of Court using the CM/EXF system, which will send a notification of
 4   this Motion to Withdraw.
 5
 6                                                           By: /s/ Daniel P. Watkins
 7                                                           Daniel P. Watkins
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28   Attorneys for Defendant McDonald’s Corp.

     MOTION TO WITHDRAW AS COUNSEL                                      CASE NO. 23-CV-01998-TSH
